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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:23-cv-00212-NYW-SKC

   ALFRED P. REAUD,

         Plaintiff,

   v.
   FACEBOOK, INC.,

         Defendant.



     DEFENDANT’S REPLY IN SUPPORT OF MOTION TO DISMISS PLAINTIFF’S
    COMPLAINT WITH PREJUDICE OR, ALTERNATIVELY, TO TRANSFER VENUE
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                                           INTRODUCTION

          Plaintiff’s Response in Opposition to Meta’s Motion to Dismiss or Alternatively Transfer

   Venue (“Mot. or “Motion”) does not meaningfully address the numerous deficiencies with

   Plaintiff’s Complaint that Meta identified in its Motion. Instead, Plaintiff introduces new flawed

   theories and purported evidence that cannot be considered on a motion to dismiss and that could

   not salvage his claims even if they could be considered. In so doing, Plaintiff only underscores

   why his Complaint fails to assert a single viable claim for relief and why it should be dismissed

   without leave to amend.

          Regarding his sexual harassment claim, Plaintiff does not dispute (1) that there is no

   cause of action for “sexual harassment” under California law—which governs Plaintiff’s claims;

   or (2) that he does not (nor could he) allege that Meta violated any sexual harassment statute.

   Plaintiff instead purports to invoke criminal harassment statutes from both California and

   Colorado, neither of which contain a private right of action. His argument fails.

          Regarding his intentional infliction of emotional distress (“IIED”) claim, Plaintiff

   doubles down on his flawed and conclusory allegations. He does not, however, cite any legal

   authority for any of his positions or address the legal authority set forth in Meta’s Motion, which

   shows that Plaintiff’s IIED claim fails for three independent reasons. See Mot. at 5-7.

          Moreover, both of Plaintiff’s claims are subject to dismissal for the independent reason

   that they are barred by Section 230 of the Communications Decency Act. Plaintiff tries to evade

   Section 230 by introducing new evidence and theorizing that Meta “co-created” the purported

   pornographic content at issue to help generate revenue. This hypothesis is unsupported.

          As for Meta’s alternative argument that the Court should transfer the action to the U.S.

   District Court for the Northern District of California, Plaintiff does not dispute that the parties’

   contract contained an enforceable forum selection clause. Nor does he dispute that the Terms of

   Service governs the parties’ relationship. Instead, he claims that he “revoked” his acceptance of


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   the clause—after filing his lawsuit—thus making California an improper venue. He does not,

   however, cite any legal authority for his position and none exists.

                                                 ARGUMENT

   I.      THIS COURT             SHOULD        DISMISS        PLAINTIFF’S         COMPLAINT            WITH
           PREJUDICE.

           A.      California Law Governs Each of Plaintiff’s Claims.

           As set forth in Meta’s Motion, California law governs Plaintiff’s claims. See Mot. at 3.

   Plaintiff “argues that Colorado law governs each of [his] claims for the reasons developed

   below” (Resp. at 5), but the remainder of his Response does not develop any such reasons.1 The

   Court, accordingly, should enforce the governing law provision in the parties’ agreement.

           B.      The Complaint Fails to State Any Claim Against Meta.

                   1.       Plaintiff fails to state a claim for sexual harassment.

           Plaintiff’s Response does not dispute that there is no common law cause of action for

   “sexual harassment” and that he has not alleged a violation of a sexual harassment statute. See

   Mot. at 4; Resp. at 10; Myers v. Trendwest Resorts, Inc., 148 Cal. App. 4th 1403, 1426 (2007)

   (“there is no common law cause of action for sexual harassment.”). He instead attempts to
   amend his complaint through his Response2 to invoke two general criminal harassment

   statutes—Colorado Revised Statute (C.R.S.) 18-9-11 and California Penal Code § 653.2. Even if

   Plaintiff’s claim was for general harassment—and it is not—neither criminal statute contains a

   private right of action for Plaintiff to enforce. Aymar v. Stassinos, 2008 WL 4838232 (E.D. Cal.


   1
     Plaintiff claims that he specifically “revoked consent” to the forum selection clause, not to the governing
   law clause or any other provision of the Terms of Service. Resp. at 13.
   2
     Plaintiff “may not amend his complaint through his response to a motion to dismiss.” Licerio v. Lamb,
   2021 WL 4556092, at *22 (D. Colo. July 15, 2021); see also Smith v. Pizza Hut, Inc., 694 F. Supp. 2d
   1227, 1230 (D. Colo. 2010) (plaintiff may not attempt to “rectify their pleading deficiencies by asserting
   new facts in an opposition to a motion to dismiss.”); see, e.g., Mattson v. Napolitano, 2010 WL
   11553697, at *2 (D. Colo. Sept. 15, 2010) (finding that plaintiff may not amend complaint by including
   new factual allegations in response to motion to dismiss).


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   Oct.7, 2008) (noting Cal. Penal Code § 653.2 does not provide a private right of action); Weeks

   v. Claussen, 2016 WL 10644768, at *7 (D. Colo. Oct. 31, 2016) (dismissing an attempted claim

   under Colo. Rev. Stat. § 18-9-111(1)(h) because it does not contain a private right of action).

   Accordingly, Plaintiff’s claim for “sexual harassment” fails, and he should not be permitted to

   file an amended complaint with a general harassment claim.

                   2.      Plaintiff fails to state a claim for intentional infliction of emotional
                           distress.
           As set forth in Meta’s Motion (Mot. at 4-7), the Complaint fails to sufficiently allege that

   Meta’s actions constitute extreme or outrageous conduct, that Meta acted with the intent of

   causing emotional distress to Plaintiff, or that Plaintiff suffered severe emotional distress.3

           Plaintiff does not dispute—and thus concedes—that he has failed to allege severe

   emotion distress sufficient to support his IIED claim. See Mot. at 7; Resp. at 12-13. The Court’s

   inquiry, accordingly, can end there. Plaintiff’s thin attempts to resolve his IIED claim’s other

   deficiencies, in any event, also fail.

           First, Plaintiff claims that he has shown a “pattern of activity on the part of Facebook that

   is extreme and outrageous,” particularly because Meta allegedly served him the ads to “increase

   click counts on underperforming ads.” Resp. at 13. However, Plaintiff’s Response ignores that
   to be considered “extreme and outrageous,” conduct must “exceed all bounds of that usually

   tolerated in a civilized community.” Batuhan, 2016 WL 1055107, at *4. As Meta’s Motion

   establishes, this is a very high bar. Mot. at 5. Plaintiff does not address the cases in Meta’s

   Motion showing that even conduct which would be considered “highly offensive” and

   “inappropriate” does not rise to the level of “extreme and outrageous” conduct to support an

   IIED claim. See id. Nor does he cite any cases suggesting that the “pattern of activity” he


   3
    While California law applies, Plaintiff acknowledges that each of these elements is also required under
   Colorado law, such that a failure to allege any of them would also result in dismissal if Colorado law
   applied.


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   alleges here might possibly suffice. As shown in Meta’s Motion, it does not.

           Second, Plaintiff still does not allege sufficient facts establishing that Meta acted with an

   intent to injure him—or even with a realization that he would be injured—as is required to

   sustain an IIED claim. See Mot. at 6. Indeed, Plaintiff walks away from the conclusory

   accusation in his Complaint that Meta “intentionally injur[ed]” him and asserts for the first time

   in his Response that Meta acted with “reckless disregard to any possible injury it may cause to

   Reaud” by purportedly continuing to “serve” him the advertisements on Facebook. Resp. at 13.

   Plaintiff’s Complaint does not, however, plead any facts to support this new allegation—which

   cannot be considered on a motion to dismiss. Moreover, acting with reckless disregard to the

   possibility of injury is not sufficient to support an IIED claim. See Christensen v. Superior

   Court, 54 Cal. 3d 868, 906 (1991) (defendant must act with “substantial certainty” that severe

   emotional injury will occur).

           Accordingly, Plaintiff’s claim for intentional infliction of emotional distress should be

   dismissed with prejudice.4

           C.      Section 230 of the Communications Decency Act Independently Bars
                   Plaintiff’s` Claims.
           Plaintiff agrees that Meta is an interactive computer service provider, Resp. at 6, and he

   does not dispute that his claims seek to treat Meta as the publisher or speaker of the content at

   issue. Id. The only element of Section 230(c)(1)5 that he asserts is not present here is the

   requirement that the content at issue be provided by another content provider. To argue that,

   Plaintiff goes beyond the allegations in his Complaint to theorize that Meta “co-created” the

   4
     Plaintiff does not dispute—and thus concedes—that his allegations regarding Meta purportedly
   “blocking” him from Facebook are insufficient to state an IIED claim. See Mot. at 6-7; Resp. at 12-13.
   5
     Plaintiff also “contests” that “Facebook has restricted anything in the context of Reaud’s Complaint.”
   Resp. at 6, 10. In so arguing, Plaintiff misunderstands Meta’s Section 230 defense. Meta has only
   invoked Section 230(c)(1), which provides that “[n]o provider or user of an interactive computer service
   shall be treated as the publisher or speaker of any information provided by another information content
   provider.” 47 U.S.C. § 230(c)(1). Meta has not argued for purposes of this Motion that Section 230(c)(2)
   applies.


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   allegedly pornographic content—by altering various benign advertisements and incorporating

   pornographic clickbait graphic and text—to “modify ad statistics” for its own financial gain.

   Resp. at 7-8. Therefore, according to Plaintiff, Section 230 does not apply. Id. Plaintiff’s

   wholly unsupported theory is—in a word—preposterous.

          As an initial matter, Plaintiff’s attempt to introduce new evidence with his Response is

   improper and should be ignored. To bolster his flawed theory, Plaintiff attaches multiple

   exhibits to his Response, which purport to show additional pornographic advertisements and the

   related third-party website content. See Resp., Exs. 1-3. Plaintiff alleges that there are

   discrepancies between the purported pornographic advertisements and the non-controversial

   underlying products being sold. Resp. at 7. But in ruling on a 12(b)(6) motion, courts may only

   consider “the complaint itself, [] attached exhibits, and documents incorporated into the

   complaint by reference.” Smith v. United States, 561 F.3d 1090, 1098 (10th Cir. 2009).

   Conversely, the Court “may not consider new allegations contained in a plaintiff's response.”

   Warad West, LLC v. Sorin CRM USA Inc., 119 F.Supp.3d 1294 (D. Colo. 2015) (emphasis

   added) (dismissing plaintiff’s claim and rejecting new allegations made in response). As such,

   the Court may not consider Plaintiff’s new evidence and related allegations.

          But even if the Court could consider Plaintiff’s new evidence— and it cannot—the

   evidence does not support Plaintiff’s flawed theory that Meta is responsible for the alleged

   discrepancies. For example, Exhibit 3 shows that Plaintiff contacted a representative from Ace

   Golf Cart Covers on April 24, 2023 to inquire about an alleged pornographic advertisement he

   purportedly saw on Facebook. The Ace Golf Cart representative responded that “anyone with an

   ad account can create an ad and link that ad to any company they wish.” Ex. 3 at 4 (emphasis

   added). Thus, even putting aside the flawed logic of Plaintiff’s theory—the new evidence does

   not support Plaintiff’s hypothesis that Meta altered the advertisements—in fact, it only helps

   establish that anyone with an ad account could have done so.



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           As for the allegations that the Court can consider here, in his Complaint, Plaintiff merely

   alleged that Meta was involved in the advertisements by “serv[ing]” them. See, e.g., Compl. at

   5. But a service provider does not lose Section 230 protection for merely “serving” content

   created by a third-party. To the contrary, this type of conduct falls at the heart of Section 230

   protection. See Mot. at 9; see also Cohen v. Facebook, Inc., 252 F. Supp. 3d 140, 156 (E.D.N.Y.

   2017) (Section 230 “is implicated not only by claims that explicitly point to third party content

   but also by claims which, though artfully pleaded to avoid direct reference, implicitly require

   recourse to that content to establish liability or implicate a defendant's role, broadly defined, in

   publishing or excluding third party [c]ommunications”); Leavitt v. Yelp!, Inc., 2011 WL

   5079526, at *9 (N.D. Cal. Oct. 26, 2011) aff'd, 765 F.3d 1123 (9th Cir. 2014) (finding claims

   that defendant “created negative reviews” and “manipulated third party reviews to pressure

   businesses to advertise” were still barred by Section 230 where plaintiff did not further allege

   how defendant materially contributed to the content at issue). Accordingly, as explained in

   Meta’s Motion, the advertisements at issue were provided by another content provider (Mot. at

   9), and all three of Section 230(c)(1)’s requirements are met (Mot. at 8-10).6

           D.      Plaintiffs Should Not Be Granted Leave to Amend.

           Here, leave to amend would be inappropriate for two reasons. First, as established in

   Meta’s Motion and above (see Section I. supra), Plaintiff has failed to allege sufficient facts to

   state any claim and has also failed to propose any additional facts or legal theories that might

   support an argument that an amended pleading would not also be subject to dismissal. Bradley v.

   Val-Megias, 379 F.3d 892, 901 (10th Cir. 2004) (amendment is futile when an amended

   complaint would also be subject to dismissal). Plaintiff’s vague assertion that he may have a

   claim for “other torts” or that a Lanham Act violation may have occurred (Resp. at 17) does

   6
    Plaintiff’s Response does not dispute, and thus concedes, that to the extent his IIED claim is based on
   Meta purportedly “blocking” him from Facebook, Section 230 applies and independently bars his claim.
   See Mot. at 9-10.


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   nothing to change that result.

           Second, all of Plaintiff’s claims will be barred by Section 230(c)(1) no matter what

   additional facts (or new causes of action) he pleads (see Section I.C. supra)—which is why

   courts generally deny leave to amend when Section 230 applies to bar claims, which cannot be

   “circumvent[ed]” with “creative pleading.” Kimzey v. Yelp! Inc., 836 F.3d 1263, 1265-66 (9th

   Cir. 2016).7

   II.     THE COURT ALTERNATIVELY SHOULD TRANSFER THIS CASE TO THE
           NORTHERN DISTRICT OF CALIFORNIA.
           As established in Meta’s Motion, the Court should dismiss Plaintiff’s claims in the

   interest of justice and judicial economy, rather than waste another court’s limited resources by

   transferring the action. See Haugh v. Booker, 210 F.3d 1147, 1150 (10th Cir. 2000) (“[A] court

   is authorized to consider the consequences of a transfer by taking ‘a peek at the merits’ to avoid

   raising false hopes and wasting judicial resources that would result from transferring a case

   which is clearly doomed.”). But if the Court decides not to exercise its discretion to dismiss the

   claims outright, it should transfer this action to the Northern District of California under 28

   U.S.C. § 1404 and per the forum selection clause in the Terms of Service—which applies here—

   and let that court rule on Meta’s Motion.
           A.      The Forum Selection Clause Applies and Encompasses Plaintiff’s Claims.

           Plaintiff does not dispute that the forum selection clause is valid and encompasses his

   claims. Instead, he resorts to the confounding argument that he “revoked” his consent to the

   forum selection clause on March 20, 2023—after filing his lawsuit—and, accordingly, the clause

   no longer applies. Even if he actually had attempted such revocation as he now argues,8 Plaintiff

   7
     Plaintiff requests that the Court deny Meta’s Motion because he believes that “Facebook does not intend
   to stop the pornographic ads, and will start the pornographic ads again the minute the Court’s gaze is
   away.” Resp. at 17. This is not a proper basis for denying a motion to dismiss. In any event, the Court
   has already denied Plaintiff’s preliminary injunction, which seeks this exact relief. ECF No. 21.
   8
     Plaintiff did not “specifically revoke[] consent to the forum selection clause in Facebook’s Terms of
   Service” in a March 20, 2023 email to undersigned counsel, as he contends in his Response. Resp. at 18.


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  does not provide any legal authority for proposition that he could revoke an applicable

  agreement’s forum selection clause after filing his lawsuit. And there is none. Indeed, if

  Plaintiff was permitted to “revoke consent” to the forum selection clause simply because he

  decided to file in a different forum, the clause would have no practical effect. Turlock Irrigation

  Dist. v. Fed. Energy Reg. Commission, 903 F.3d 862, 872 (9th Cir. 2018) (court will not adopt

  interpretation to render provision meaningless). Here, moreover, Plaintiff continued to use

  Facebook after he purportedly revoked his consent (Resp. at 17 (discussing Plaintiff’s Facebook

  use on April 22, 2023)—and such use constitutes his continued agreement to be bound by all of

  the provisions in the Terms of Service, including the forum selection clause. Pricer Decl. Ex. B,

  Terms of Service at 12 (noting that continued use of Meta’s products binds users to the Terms).

          Thus, as explained in Meta’s Motion (Mot. at 11), the forum selection clause at issue,

  which provides that any dispute “shall be resolved exclusively in the U.S. District Court for the

  Northern District of California or a state court located in San Mateo County,” by its plain terms

  establishes mandatory jurisdiction in the specified forums. Pricer Decl., Ex. B, Terms of Service

  at 15 (emphasis added); see, e.g., Hayes v. Facebook, 2019 WL 8275335, at *3 (D. Colo. Mar. 6,

  2019) (granting motion to transfer to the Northern District of California based on mandatory

  forum selection clause in the Facebook Terms of Service). Moreover, Plaintiff does not dispute

  that the forum selection clause encompasses his claims, which “arise[ ] out of” his “access or use

  of [a] Meta Product[ ]”—namely, Facebook. Pricer Decl., Ex. B, Terms of Service at 15.

          B.       Enforcement of the Clause Would Not be Unreasonable.

          As the primary case Plaintiff relies on makes clear, forum selection clauses “are prima

  facie valid and should be enforced unless enforcement is shown by the resisting party to be



  In that email, Plaintiff refused to voluntarily transfer the action to the Northern District of California and
  stated that he had “allege[d] that Facebook breached the Terms of Service itself, making those terms null
  and void.” See Visser Decl. at Ex. A. Here, Plaintiff does not argue—nor could he—that the forum
  selection clause does not apply based on an alleged breach of contract.


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  unreasonable under the circumstances.” The Bremen v. Zapata Off-Shore Co., 407 U.S. 1, 10

  (1972). Accordingly, the “proper application of § 1404(a) requires that a forum-selection clause

  be given controlling weight in all but the most exceptional cases.” Atl. Marine Const. Co., Inc. v.

  U.S. Dist. Court for W. Dist. Of Tex., 134 S. Ct. 568, 579 (2013). This is not an exceptional case.

         Plaintiff argues that requiring him to litigate in a “distant, inconvenient location” would

  be an “undue burden.” Resp. at 17. However, Plaintiff’s arguments regarding the inconvenience

  of litigating in the Northern District of California—including his arguments related to travel—

  are irrelevant as a matter of law. As the Supreme Court has instructed, where, as here, a forum-

  selection clause is valid and applicable, a court “should not consider arguments about the parties’

  private interests,” Atl. Marine Constr. Co, 571 U.S. at 64, including any contentions “[]related to

  the convenience of the parties,” id. at 52. Indeed, where “parties agree to a forum-selection

  clause, they waive the right to challenge the preselected forum as inconvenient or less convenient

  for themselves or their witnesses, or for their pursuit of the litigation.” Bowers v. Tension Int’l,

  Inc., 2016 WL 3181312, at *1 (D. Colo. June 8, 2016) (noting that even if it would be “much

  easier for Plaintiff to pursue claims” in Colorado, such factors are not considered “where the

  parties have a contractual provision designating another forum.”). Accordingly, even if

  Plaintiff’s convenience objections had merit as a matter of fact, his arguments are beside the

  point as a matter of law.

         Moreover, Plaintiff completely ignores all the reasons set forth in Meta’s Motion why the

  public interest factors here weigh in favor of enforcing the parties’ agreed-to forum selection

  clause. Crucially, as explained in Meta’s Motion, protecting parties’ “legitimate expectations”

  (id.) is important “for businesses with nationwide customers[,] to limit the risk and expenses of

  litigation under different laws in every state.” Abat v. Chase Bank USA, N.A., 738 F. Supp. 2d

  1093, 1096 (C.D. Cal. 2010); see also Mot. at 14-15. Plaintiff provides no argument to the

  contrary. Further, as noted in Meta’s Motion (Mot. at 14), Meta has experienced no



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  “administrative difficulties,” Atl. Marine Constr. Co., 571 U.S. at 62 n.6, in resolving disputes in

  the Northern District of California, and the courts of the Northern District of California have

  considerable experience handling lawsuits against companies like Meta. Mot. at 15. And

  contrary to Plaintiff’s claim that all events at issue occurred in Colorado (Resp. at 14), to the

  extent “local interest[s]” are even at play, id., this case has significant ties to California—Meta is

  headquartered in and principally operates out of San Mateo, California. Plaintiff also asserts that

  the case should proceed in Colorado because Colorado’s harassment statute is more favorable to

  him than California’s. Resp. at 16. But this argument confuses governing law with proper

  forum. As set forth above (see Section I.A, supra), no matter where this case is litigated,

  California law will apply.9 The public interest factors, accordingly, weigh in favor of enforcing

  the forum selection clause.
                                            CONCLUSION

         For the foregoing reasons and those set forth in Meta’s Motion, Meta respectfully requests

  that the Court dismiss Plaintiff’s Complaint in its entirety with prejudice. In the alternative, the

  Court should transfer this case to the Northern District of California as the parties agreed.


  Dated: May 18, 2023




  9
   As explained above (see Section I.B, supra), moreover, the two criminal statutes cited by Reaud—which
  are not for sexual harassment—do not provide him with a private right of action to bring such claims
  against Meta.


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                                              Respectfully submitted,



                                              By: /s/ Michelle Visser
                                              By Its Attorneys

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                                     CERTIFICATE OF SERVICE

         I hereby certify that on this 19th day of May, 2023, a true and correct copy of the foregoing

  DEFENDANT’S REPLY ISO MOTION TO DISMISS PLAINTIFF’S COMPLAINT WITH

  PREJUDICE OR, ALTERNATIVELY, TO TRANSFER VENUE was e-filed with the Clerk

  of Court via CM/ECF System which will send notification of such filing to:


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